Case 1:22-cv-00125-AMD-RML Document 14 Filed 02/15/22 Page 1 of 1 PageID #: 186




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ------------------------------------------------------------------ X

 JENNIFER D. ARAOZ,
                                         Plaintiff,                      INDEX NO.: 1:22-CV-00125
                                                                         (AMD) (RML)
                          - against –

 THE NEW ALBANY COMPANY LLC, et al.

                                         Defendants,

 ------------------------------------------------------------------ X

                                         NOTICE OF APPEARANCE

 Robert J. Hantman, a member of good standing of the United States District Court Eastern
 District of New York, hereby enters his appearance as additional counsel on behalf of Plaintiff
 Jennifer D. Araoz in the above captioned action.

 Please serve all pleadings, motions, and the like at the address below.


 Dated: February 15, 2022


                                                                 By: /s/ Robert J. Hantman
                                                                 Robert J. Hantman, Esq.
                                                                 1120 Avenue of the Americas, 4th Floor
                                                                 New York, NY 10036
                                                                 Tel: (212) 684-3933
                                                                 rhantman@hantmanlaw.com




                                                          1
